 Case 2:17-cv-00739-JRG Document 12 Filed 01/10/18 Page 1 of 2 PageID #: 95



                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION



TANGELO IP, LLC

              Plaintiff,                           Civil Action No. 2:17-cv-739-JRG

       v.                                          JURY TRIAL DEMANDED

PIER 1 IMPORTS, INC.

              Defendant.



   DEFENDANT PIER 1 IMPORTS, INC.’S RULE 7.1 DISCLOSURE STATEMENT

              Pursuant to Fed. R. Civ. P. 7.1, Pier 1 Imports, Inc., by and through its counsel,

hereby discloses that: Pier 1 Imports, Inc. is a Delaware corporation with its principal place of

business located at 100 Pier 1 Place, Fort Worth Texas 76102, and there is no publicly held

company that owns 10 percent (10%) or more of the stock of Pier 1 Imports, Inc.


Date: January 10, 2018                      Respectfully submitted,


                                            /s/ Kevin J. Meek
                                            Kevin J. Meek
                                            TX Bar No. 13899600
                                            Mark Speegle
                                            CA Bar No. 293873
                                            BAKER BOTTS L.L.P.
                                            98 San Jacinto Boulevard
                                            Suite 1500
                                            Austin, TX 78701-4078
                                            Phone: (512) 322-2500
                                            Fax: (512) 322-2501
                                            kevin.meek@bakerbotts.com
                                            mark.speegle@bakerbotts.com

                                            Counsel for Defendant
                                            Pier 1 Imports, Inc.
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 Case 2:17-cv-00739-JRG Document 12 Filed 01/10/18 Page 2 of 2 PageID #: 96



                              CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was filed electronically on the
10th day of January, 2018 to all counsel who have consented to electronic service through the
Court’s ECF system.

                                               /s/ Kevin J. Meek
                                                   Kevin J. Meek




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